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                       UNITED STATES DISTRICT COURT FOR
                           THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :
       v.                                      : CASE NO. 21-CR-003 (RCL)
                                               :
JACOB ANTHONY CHANSLEY,                        :
     Defendant.                                :


                                    STATUS UPDATE

       The government now submits this status update, pursuant to this Court’s Order. ECF No.

39. The defendant has been designated for evaluation at FCI Englewood, in Jefferson County,

CO. Per the forensic examiner, the defendant will have to be placed in quarantine upon arrival

in accordance with the facility’s COVID-19 precautions before the evaluation can begin.

According to the U.S. Marshal Service, as of today, the defendant is still in Alexandria, VA, and

is scheduled to depart this week.

                                      Respectfully submitted,

                                      CHANNING D. PHILLIPS
                                      ACTING UNITED STATES
                                      ATTORNEY


                                         /s/
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